Case 19-05285-sms      Doc 4    Filed 08/15/19 Entered 08/15/19 08:36:33           Desc Main
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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

In re                                  § CASE NO. 19-59976-SMS
                                       §
CHIMWEMWE KEITH ELIAD KAMWANA, § CHAPTER 13
                  Debtor.              §
                                       § HON. SAGE M. SIGLER
______________________________________ § ______________________________________
                                       §
                                       §
ASSOCIATED CREDIT UNION,               § ADV. PROCEEDING NO. 19-05285-SMS
                  Plaintiff,           §
                                       §
v.                                     §
                                       §
CHIMWEMWE KEITH ELIAD KAMWANA, §
                          Defendant.   §

                               CERTIFICATE OF SERVICE

       This is to certify that on August 15, 2019, I served the Summons and Complaint to
Determine Dischargeability of Debt pursuant to 11 U.S.C. §§ 523(a)(2)(A) and (a)(6) by
depositing a copy of same in an envelope with adequate postage affixed thereon to insure
delivery via first class, regular mail upon:

Chimwemwe Keith Eliad Kamwana                Howard P. Slomka
407 Sawyer Meadow Way                        Slipakoff & Slomka, PC
Grayson, GA 30017                            Overlook III - Suite 1700
                                             2859 Paces Ferry Rd, SE
                                             Atlanta, GA 30339

Mary Ida Townson                             Office of the United States Trustee
Chapter 13 Trustee                           Room 362, 75 Ted Turner Dr., SW
Suite 1600, 285 Peachtree Center Ave, NE     Atlanta, GA 30303
Atlanta, GA 30303

                                                          /s/ Michael B. Pugh
                                                          MICHAEL B. PUGH
                                                          Georgia State Bar No. 150170
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